
In re Daley, Donnie; — Plaintiffs); applying for supervisory and/or remedial writs; Parish of Iberville, 18th Judicial District Court, Div. “A”, No. 3134,91.
Writ granted solely for purposes of transfer to the court of appeal. Though relator styled his filing an application for a writ of habeas corpus, the remedy he seeks is in the nature of post-conviction relief provided for by La.C.Cr.P. art. 924 et seq., see La.C.Cr.P. art. 351; State ex rel. Glover v. State, 93-2330, P. 9-11 (La. 9/5/95), 660 So.2d 1189, 1195-96, and we consider the substance rather than the caption of the filing. Smith v. Cajun Insulation, 392 So.2d 398, 402 n. 2 (La.1980). Writs seeking review of the district court’s denial of relief therefore lie to the court of appeal. See La. Const, art. V, Section 10(A); La.C.Cr.P. art. 930.6; La. S.Ct.R. X, Section 5(b). Accordingly, relator’s writ is transferred to the court of appeal for its consideration of the merits.
MARCUS, J., not on panel.
